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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA                                                i Iu
                                  SAVANNAH DIVISION

UNITED STATES OF AMERICA                               )
                                                       )
         V.                                            )       Case No. 408-102
                                                       )
GLOBAL PIGEON SUPPLY                                   )

                        PRELIMINARY ORDER OF FORFEITURE

         IT IS HEREBY ORDERED THAT:

1.       As the result of the guilty plea to Count 5 of the Indictment, for which the Government

sought forfeiture pursuant to 18 U.S.C. § 981(a)(1)(c) and 28 U.S.C. § 2461(c), Defendant shall

forfeit to the United States any property, real or personal, which constitutes or is derived from

proceeds traceable to the commission of the offense.

2.       The Court has determined, based on evidence in the Plea Agreement, that $53,000.00 in

United States Currency ("Subject Property") is subject to forfeiture pursuant to 18 U.S.C. §

981(a)(1)(c) and 28 U.S.C. § 2461(c), and that the Government has established the requisite nexus

between such property and such offense.

3.       Upon entry of this Order, the United States Attorney General or an authorized designee is

authorized to seize $53,000.00 in U.S. Currency, whether held by the Defendant or by a third party,

and to conduct any discovery proper in identifying, locating or disposing of the property subject to

forfeiture, in accordance with Fed. R. Crim. P. 32.2(b)(3).

4.       Upon entry of this Order, the United States Attorney General or a designee is authorized to

commence any applicable proceeding to comply with statutes governing third party rights, including

giving notice of this Order.

5.       The United States shall publish notice of the Order and its intent to dispose of the property
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in such a manner as the United States Attorney General or a designee may direct. The United States

may also, to the extent practicable, provide written notice to any person known to have an alleged

interest in the Subject Property. No such notice is required to the extent that this Order consists

solely of a money judgment against the defendant. Fed. R. Crim. P. Rule 32.2(c)(l).

6. Any person, other than the above named Defendant, asserting a legal interest in the Subject

Property may, within thirty days of the final publication of notice or receipt of notice, whichever is

earlier, petition the court for a hearing without ajury to adjudicate the validity of his alleged interest

in the Subject Property, and for an amendment of the Order of Forfeiture, pursuant to 21 U.S.C. §

853.

7.         Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preliminary Order of Forfeiture shall become

final as to the Defendant at the time of sentencing and shall be made part of the sentence and

included in the judgment. If no third party files a timely claim, this Order shall become the Final

Order of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).

8.         Any petition filed by a third party assertingan interest in the Subject Property shall be signed

by the petitioner under penalty of perjury and shall set forth the nature and extent of the petitioner's

right, title, or interest in the Subject Property, the time and circumstances of the petitioner's

acquisition of the right, title or interest in the Subject Property, any additional facts supporting the

petitioner's claim and the relief sought.

9.         After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(1)(A) and before a

hearing on the petition, discovery may be conducted in accordance with the Federal Rules of Civil

Procedure upon a showing that such discovery is necessary or desirable to resolve factual issues.

10.        The United States shall have clear title to the Subject Property following the Court's

disposition of all third-party interests, or, if none, following the expiration of the period provided
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in 21 U.S.C. § 853(n)(2) for the filing of third party petitions.

Ii.      The Court shall retain jurisdiction to enforce this Order, and to amend it as necessary,

pursuant to Fed. R. Crim. P. 32.2(e).

12. The Clerk of the Court shall forward four certified copies of this Order to Assistant United

States Attorney James D. Durham, U.S. Attorney's Office, 100 Bull Street, Suite 201, Savannah,

Georgia 31401.

                  This/La day of                  ,2008.


                                               SO ORD


                                               JUDGE B.AVANT EDENLD
                                               UNITED STATES DIST1CT COURT
                                               SOUTHERN DISTRICT OF GEORGIA



Prepared by : James D, Durham
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